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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a,        §
BRAZOS LICENSING AND                §
DEVELOPMENT                         §
                                    §   Case No. 6:20-cv-572-ADA
              Plaintiff,            §
                                    §   JURY TRIAL DEMANDED
     v.                             §
                                    §
GOOGLE LLC,                         §
                                    §
              Defendant.            §
                                    §

         DEFENDANT GOOGLE LLC’S RESPONSE TO PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT AS TO CERTAIN AFFIRMATIVE DEFENSES
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                          * Emphasis added throughout unless indicated otherwise.


                       ** Deposition objections removed unless indicated otherwise.




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                    INTRODUCTION AND SUMMARY OF ARGUMENT

         As explained below, plaintiff’s summary-judgment motion (Dkt. 158) regarding

 Google’s affirmatives defenses on doctrine of equivalents (affirmative defenses Nos. 2 and

 10), waiver, estoppel, and acquiescence (affirmative defense No. 4), and license/patent

 exhaustion (affirmative defense No. 7) are moot.

                                            ARGUMENT

        Plaintiff’s Motion Regarding Google’s Affirmative Defenses Nos. 2 And 10 Is Moot.

Google’s second affirmative defense is prosecution history estoppel, and Google’s tenth

affirmative defense is ensnarement. (Dkt. 16 at 13-14). Both affirmative defenses concern the

doctrine of equivalents (“DOE”). Plaintiff’s infringement contentions did not identify any

infringement theories under DOE, plaintiff’s expert did not offer any opinions regarding DOE,

and plaintiff’s summary judgment motion confirms that it “does not offer any infringement

theories under the doctrine of equivalents.” (Dkt. 158 at 8-9).

        Accordingly, plaintiff’s motion regarding Google’s affirmative defenses Nos. 2 and 10 is

moot given: (i) plaintiff’s repeated representations that it does “not invoke” and “does not offer any

theories” under DOE (id. at 4-5, 8-9); (ii) plaintiff’s expert’s failure to offer any opinions regarding

DOE; and (iii) prosecution history estoppel and ensnarement are each “a question of law” to be

resolved by the court rather than the jury. See, e.g., Traxcell Techs., LLC v. Nokia Sols., 15 F.4th

1136, 1146 (Fed. Cir. 2021); Jang v. Boston Sci. Corp., 872 F.3d 1275, 1288 (Fed. Cir. 2017)

(“Because prosecution history estoppel was a legal question for a district court to consider, we

concluded that ensnarement was one as well.”).

        Plaintiff’s Motion Regarding Google’s Affirmative Defense No. 4 Is Moot. Google’s

fourth affirmative defense concerns “waiver, estoppel, and/or acquiescence.” (Dkt. 16 at 13-14).
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Google will not pursue those defenses at trial, and plaintiff’s motion with respect to Google’s

affirmative defense No. 4 is therefore moot. (Dkt. 158 at 5-7).

       Plaintiff’s Motion Regarding Google’s Affirmative Defense No. 7 Is Moot. Google’s

seventh affirmative defense concerns “an express or implied license, and/or the patent exhaustion

doctrine.” (Dkt. 16 at 14.) Google will not pursue those defenses at trial, and plaintiff’s motion

with respect to Google’s affirmative defense No. 7 is therefore moot. (Dkt. 158 at 7-8).

                                          CONCLUSION

       For the reasons stated above, plaintiff’s motion for summary judgment is moot.



  Date: July 26, 2023                                Respectfully submitted,
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